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                                                                          The Honorable James L. Robart
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 6                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
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     JOHNNY B. DELASHAW, JR.,
 9                                                         CASE NO. 2:18-cv-00537-JLR
                                    Plaintiff,
10                                                         DECLARATION OF MICHELE
                    v.                                     MATASSA FLORES IN SUPPORT OF
11                                                         THE SEATTLE TIMES’ SECOND
                                                           MOTION FOR SUMMARY JUDGMENT
     SEATTLE TIMES COMPANY, and
12
     CHARLES COBBS,                                        NOTED ON MOTION CALENDAR:
13                                                         July 31, 2020
                                    Defendants.
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15
            I, Michele Matassa Flores, hereby declare:
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            1.      I am the Executive Editor of The Seattle Times and I make this declaration based
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     on personal knowledge.
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            2.      The Seattle Times took the very unusual step of publishing Dr. Delashaw’s written
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     statement in full on our website. In addition, the article about financial incentives for SNI
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     surgeons was reworked at the very last minute, when we finally received Dr. Delashaw’s written
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     statement. In addition to publishing his statement in full on our website, we included responsive
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     portions of his statement throughout that article.
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     DECLARATION OF MICHELE MATASSA FLORES IN                              SUMMIT LAW GROUP PLLC
     SUPPORT OF THE SEATTLE TIMES’ SECOND MOTION                             315 FIFTH AVENUE SOUTH, SUITE 1000
     FOR SUMMARY JUDGMENT - 1                                                 SEATTLE, WASHINGTON 98104-2682
     CASE NO. 2:18-cv-00537-JLR                                                    Telephone: (206) 676-7000
                                                                                      Fax: (206) 676-7001
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